
ColliNS, Judge,
concurrmg:
Although I agree with the result reached by the majority, I prefer to rely upon a different ground. In my opinion, even if plaintiff’s claim is within the jurisdiction of this court, plaintiff is not entitled to recover.
Plaintiff asserts that, by enacting section 102 of the Defense Housing and Community Facilities and Services Act of 1951, 65 Stat. 294, 42 U.S.C. § 1591a (1964), Congress indicated a policy “to prohibit the Federal Government from building any permanent housing which would interfere with the economic soundness of the investment of private builders * * * [who provided housing in areas which the President had determined to be critical defense housing areas].” As pointed out in the majority opinion, plaintiff’s claim is based in part upon alleged violation of this policy. I agree with defendant that plaintiff’s contention is without merit. The significance which plaintiff attributes to 42 U.S.C. § 1591a *90is far too broad. That section placed a conditional limit upon the power of the Federal Government to construct housing under subchapter IX of chapter 9 of 42 TJ.S.C.1 There was no all-inclusive prohibition of the type plaintiff suggests. Furthermore, the housing program referred to in 42 U.S.C. § 1591a expired many years previous to the date (in 1959) when plaintiff purchased the project involved in this suit. With regard to expiration dates, see 42 TJ.S.C. § 1591c. In view of these facts, there can be no recovery by plaintiff on the basis of 42 TJ.S.C. § 1591a.
Plaintiff also argues that the Government violated an implied condition not to hinder plaintiff’s fulfillment of its loan agreement and mortgage contract. I cannot accépt the view that the Government impliedly agreed to the terms plaintiff urges. In Bateson-Stolte, Inc. v. United States, 158 Ct. Cl. 455, 305 F. 2d 385 (1962), which involved a construction contract, this court rejected the plaintiff’s argument that the Government had impliedly promised to refrain from certain activities.2 The basis for this conclusion was expressed as follows: “Since defendant [i.e., the Government] would never have expressly agreed to such a provision, it cannot be successfully contended that defendant impliedly agreed to it.” 158 Ct. Cl. at 460. The same reasoning applies to the present case. I cannot conceive that responsible officials would have promised plaintiff that the Government housing programs about which plaintiff complains would be curtailed or halted in the area of Fort Sill. *91Therefore, I conclude that the carrying on of these programs did not constitute infraction of any implied agreement between plaintiff and the Government. For the above reasons, I agree that plaintiff’s petition must be dismissed.

 TEe section in question, 42 U.S.C. § 1591a, provides, in part, as follows:
“* * « no permanent Rousing shall be constructed by the Federal Government under the provisions of subchapter IX of this chapter except to the extent that private builders or eligible mortgagees have not, within, a period of not less than ninety days * * * following public announcement of the availability of such mortgage insurance aids under * * * [certain sections] of Title 12, indicated * * * that they will provide the housing determined to be needed in such area for defense workers and military personnel and publicly announced as provided by subsection (a) of this section. * * *”


 With regard to the matter of implied conditions, plaintiff cites York Eng’r. &amp; Constr. Co. v. United States, 103 Ct. Cl. 613, 62 F. Supp. 546 (1945), cert. denied, 327 U.S. 784 (1946), and Beuttas v. United States, 101 Ct. Cl. 748, 60 F. Supp. 771 (1944). Discussion of these cases is'unnecessary. It is sufficient to mention that the relevant part of the judgment which this court had granted to the plaintiffs in Beuttas was reversed by the Supreme Court. 324 U.S. 768, 773 (1945). The reasoning of York Eng’r. &amp; Constr. Co., which was based upon Beuttas, was rejected in Bateson-Stolte, Inc. v. United States, supra, at 462.

